                  Exhibit 5




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                                         Mayor Jerry Peterman issued a Declaration of a State of
                                         Emergency for the City of Graham issuing a curfew daily
                                         June 4 - June 9, 2020. Here are answers to questions our
                                         residents may have about the curfew and information
                                         surrounding events happening in our community at this time.


What is a curfew?
The curfew prohibits anyone within the City of Graham, between the hours of 9 p.m. and 6 a.m., from gathering
or demonstrating on any public street, sidewalk, or public property. It also prohibits travel upon any public
street unless it is for the purpose of seeking medical care, food, or other necessities for yourself or a family
member. The curfew does not apply to those working, or to members of law enforcement, medical providers,
first responders, or transit operators and riders.

How will the curfew be enforced?
Local law enforcement officers, as well as any law enforcement agency assisting local police, will enforce the
curfew.

What is the penalty for violating the curfew?
Violation of the curfew is punishable as a class 2 misdemeanor.

How do I apply for a protest or demonstration permit?
www.cityofgraham.com/police - first question answered under FAQ’s

Does my business have to close after curfew?
All businesses are permitted to remain open during the nightly curfew if they choose to do so, and employees
are permitted to travel directly to and from their place of work.

Can I travel to and from work?
Yes, if your business or place of work is open, you can travel to and from work. Unnecessary additional travel
or lingering in public space is prohibited.

I’m scheduled to work during the curfew. Can I still travel to work?
Yes, people are allowed to travel to and from work during the curfew.

Where does the curfew apply?
The curfew applies everywhere within the City of Graham.

What are the hours of the curfew?
The curfew begins at 9:00 p.m. and ends each day at 6:00 a.m.

Does the curfew apply to emergency workers?
No. With the exception of police officers, firefighters, doctors, nurses and such other classes of persons as may
be essential to the preservation of public order and immediately necessary to serve the safety, health and welfare
needs of the people within the City and citizens traveling to or from places of employment.

What happens if I have an emergency and need to get to a hospital or pick up prescription medication?
People who are in search of medical assistance or some other commodity or service necessary to sustain the
well-being of themselves or their families or some member thereof seek the service necessary.
You can also call 911.



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